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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

IN RE:                                          '
                                                '
S & S HEAVY HAUL,                               '          CASE NO. 18-33318
                                                '       (CHAPTER 7 - JUDGE BOHM)
               DEBTOR                           '

             AGREED ORDER ON BARCAS LLC’S MOTION FOR RELIEF FROM
                    AUTOMATIC STAY UNDER 11 U.S.C. ' 362(d)
                             (Relates to Dkt # 13)

         Barcas LLC (“Barcas”) and Randy W. Williams, Chapter 7 Trustee (“Trustee”)

submitted this Agreed Order on Barcas’s Motion for Relief from the Automatic Stay under

11 U.S.C ' 362(d) (the “motion”) to exercise its statutory and contractual rights in collateral

for its secured claim against S&S Heavy Haul (“Debtor”) that was filed with the Court on

July 18, 2018. After reviewing the motion, Trustee has concluded that the value of the

security for Barcas’s secured claim is substantially less than the amount of such claim and

that there is no benefit to the estate in opposing the relief requested in Barcas’s motion.

Inasmuch as no other creditor or party-in-interest opposes the relief requested in Barcas’s

motion, the Court concludes that the relief requested in such motion should be approved

and the hearing currently scheduled on the motion on August 14, 2018 at 10 a.m. should be

cancelled. With no further notice being required, it is accordingly

ORDERED:

         Barcus’s Motion for Relief from the Automatic Stay under 11 U.S.C ' 362(d) is

granted. The automatic stay is hereby terminated under 11 U.S.C. ' 362(d) to allow Barcas to

exercise and all contractual and statutory rights in regard to the oil tanker trailers that are

collateral for its secured claim as set forth in Barcas’s motion (dkt #13);

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        The 14-day period under Bankruptcy Rule 4001(a)(3) is terminated and the relief

provided in this Agreed Order is immediately effective;

        Barcas shall reduce the amount of any proof of claim for the indebtedness that

Debtor owes to Barcas by $120,000.00, which represents the estimated value of the four oil

tanker trailers that are presently located in Debtor’s leased storage facility in El Reno,

Oklahoma. If Barcas is able to locate and exercise its contractual and statutory rights in the

other five oil tanker trailers that are collateral for its secured claim (the location of which are

currently unknown to Trustee and Barcas), then Barcas shall take such actions as are

necessary (such as filing an amended proof of claim) to reduce its claim by $30,000 per each

oil tanker trailer that it recovers;

        The previously scheduled hearing on August 14, 2018 at 10:00 a.m. on Barcas’s

motion is hereby cancelled.

DATED: AUGUST ___ 2018.


                                             THE HONORABLE JEFF BOHM,
                                             UNITED STATES BANKRUPTCY JUDGE




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APPROVED:

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